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13

14                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
15                                 SAN FRANCISCO DIVISION
16   In Re CATHODE RAY TUBE (CRT)                         Case No. 07-cv-5944-SC
     ANTITRUST LITIGATION                                 MDL No. 1917
17
                                                          DECLARATION OF CRAIG A.
18   This Document Relates to:                            BENSON IN SUPPORT OF
                                                          SHARP’S OBJECTIONS TO
19                                                        ORDER OF SPECIAL MASTER
     Sharp Electronics Corporation, Sharp Electronics     LEGGE STAYING DISCOVERY
20   Manufacturing Company of America, Inc. v. Hitachi,
     Ltd. et al., Case No. 13-cv-1173 SC.                 DATE: None Set
21                                                        TIME: None Set
                                                          COURTROOM: One, 17th Floor
22                                                        JUDGE: The Honorable Samuel Conti
23

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     DECLARATION OF CRAIG A. BENSON IN SUPPORT OF
     SHARP’S OBJECTIONS TO ORDER OF SPECIAL MASTER                                    Case No. 13-cv-1173-SC
     LEGGE STAYING DISCOVERY                                       Master File No. 07-cv-5944, MDL No. 1917
     Case 4:07-cv-05944-JST Document 1839-1 Filed 08/09/13 Page 2 of 2




1    I, Craig A. Benson, hereby declare as follows:

2            1.      I am an active member in good standing of the bars of the State of Maryland, the

3    State of New York, and the District of Columbia and on March 20, 2013 was granted leave to

4    appear pro hac vice. Dkt. No. 12. I am associated with the firm of Paul, Weiss, Rifkind,

5    Wharton & Garrison LLP, counsel to Plaintiffs Sharp Electronics Corporation and Sharp

6    Electronics Manufacturing Company of America, Inc. (collectively, “Sharp”). I submit this

7    Declaration in support of Sharp’s Objections to Order of Special Master Legge Staying

8    Discovery. I have personal knowledge of the facts stated herein and could competently testify to

9    these facts if called as a witness.

10           2.      Attached as Exhibit 1 is a true and correct copy of Special Master Legge’s Order

11   Staying Discovery, No. 07-cv-5944, Dkt. No. 1820 (Aug. 1, 2013).

12           3.      Attached as Exhibit 2 is a true and correct copy of Sharp’s Discovery Letter Brief

13   to Special Master Legge and supporting exhibits, No. 07-cv-5944, Dkt. No. 1766 (July 5, 2013).

14           4.      Attached as Exhibit 3 is a true and correct copy of Thomson Consumer

15   Electronics, Inc.’s Response Letter Brief, No. 07-cv-5944, Dkt. No. 1783 (July 19, 2013).

16           5.      Attached as Exhibit 4 is a true and correct copy of Sharp’s Reply Letter Brief and

17   supporting exhibits, No. 07-cv-5944, Dkt. No. 1797 (July 26, 2013), as filed on the public docket

18   at Dkt. No. 1836 (Aug. 8, 2013), pursuant to the Order Denying Sharp Plaintiffs’ Administrative

19   Motion to Seal Documents Pursuant to Civil Local Rules 7-11 and 79-5(d), Dkt No. 1831 (Aug.

20   6, 2013).

21           6.      Attached as Exhibit 5 is a true and correct copy of excerpts from THOMSON

22   S.A., Annual Report (Form 20-F) (May 11, 2007).

23

24   I declare under penalty of perjury, under the laws of the United States of America, that the

25   foregoing is true and correct.

26   Executed this 9th day of August, 2013 in Washington, DC.

27                                                                /s/ Craig A. Benson

28                                                                Craig A. Benson
                                                      -2-
     DECLARATION OF CRAIG A. BENSON IN SUPPORT OF
     SHARP’S OBJECTIONS TO ORDER OF SPECIAL MASTER                                          Case No. 13-cv-1173-SC
     LEGGE STAYING DISCOVERY                                             Master File No. 07-cv-5944, MDL No. 1917
